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                             THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH


                                                       ORDER GRANTING [73] STIPULATED
                                                           MOTION TO STAY CASE
                                                               PROCEEDINGS
     In re Progressive Leasing Breach Litigation
                                                           Case No. 2:23-cv-00783-DBB-CMR

                                                                District Judge David Barlow

                                                           Magistrate Judge Cecilia M. Romero


           Before the court is the Parties’ Stipulated Motion to Stay Case Proceedings.1 For good

 cause shown, the Motion is GRANTED. IT IS HEREBY ORDERED that these proceedings,

 other than third-party discovery, are stayed until the earlier of (i) July 7, 2025; or (ii) a notice

 from the Parties.

           IT IS FURTHER ORDERED that the Parties shall provide a status report to the Court no

 later than July 7, 2025 reporting the status of their settlement discussions.


           DATED: March 11, 2025
                                                      BY THE COURT



                                                      ____________________________________
                                                      David Barlow
                                                      United States District Judge




 1
     ECF No. 73.
